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IN THE COUNTY/DISTRICT COURT IN AND FOR
THE COUNTY OF PUEBLO AND STATE OF COLORADO

Criminal Action Number
Division

STATE OF COLORADO ) APPLICATION. AND AFFIDAVIT
) ss. FOR
COUNTY OF PUEBLO ) SEARCH WARRANT

The undersigned, being first duly sworn, upon oath, deposes and says:

1. That this affidavit is made in support of an application for a Search Warrant to search
the following premises, person(s), motor vehicle or things(s), to-wit:

1200 20" Lane, which is a two family duplex positioned at the intersection of 20"
Lane and Hillside Road with the northern most half of the duplex bearing the address of
1200, all outbuildings and surrounding curtilage, Cynthia Jean Aguilar (date of birth 02-
22-64), and all persons present during the execution of this search warrant, now located

within Pueblo County, Colorado.

This search warrant also seeks permission to search any and all vehicles, which
can be linked to the aforementioned persons, who are contacted at the residence of 1200
20 Lane during the execution of this search warrant. The nexus of vehicle use and
possession will be demonstrated by paperwork, vehicle keys, investigative interviews,
proximity to the residence to be searched, and other issues of proof which tend to show —
that such vehicles belong to, were occupied by, of. are in care, custody and control by
aforementioned persons.

2. That the person(s), property, motor vehicle or thing(s) t to be searched for, and seized if
found (Mark “x” according ts to fact): -

( ) Is stolen or embezzled:

AND/OR
-(X) Is designed or intended for use as a means of committing a ciiminal offense;

- or is or has been so used;
AND/OR
(X) Is illegal to possess;
AND/OR .
(X) Would be material evidence in a subsequent criminal prosecution.

3. The property or things to be searched for are:

A Controlled Substance (COCAINE) as defined in Colorado Revised Statutes 18-18- 204
and 18-18-405, as amended, together with such vessels, implements and furniture in which such

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drugs are found, and the vessels, implements, and furniture used in connection with the personal
property tending to establish the identity of persons in control of contraband, telated ~
paraphernalia, consisting in part and including, but not limited to, utility company receipts rent
receipts financial records, canceled mail envelopes, photographs, keys and monies 6 related to the
foregoing illegal activities. -

4. That additional facts submitted for this application are set out in an accompanying
attachment incorporated herein by reference and made a part hereof as though fully set out
herein, and designed as “Attachment A”’..

NOW, THEREFORE, the undersigned Applicant moves this Court for the issuance of a
Search Warrant for the address and location named or described above for the search and seizure
of the above-described person(s), property, motor vehicle, or thing(s).

The foregoing application and affidavit was subscribed evorn to or affirmed before

me this 26" day of May, A.D. 2006.

BY THE COURT:

JUDGE

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EXHIBIT A
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ATTACHMENT “A”

The facts establishing grounds for the issuance of a search warrant, and showing probable
cause to believe they exist, aré as follows:

Affiant herein, Michael J. Simonich, being first duly sworn upon his oath, deposes and
states as follows:

Affiant is and was at all material times herein employed as a Detective for the Special
Investigations Division-Narcotic Unit of the City of Pueblo, Colorado, Police Department.

All events and locations mentioned in this affidavit are located in Pueblo County,
Colorado unless other wise described.

Your Affiant, Michael Simonich, has been a Peace officer for over thirteen years. Your
Affiant is currently employed by the Pueblo Police Department, and has been so employed for
more than eight years. Prior to being employed by the Pueblo Police Department, your A ffiant
was employed as a Detention Deputy by the Pueblo County Sheriff Department for
approximately five years, and conducted numerous narcotics investigations within the Pueblo
County Jail. Your Affiant is currently assigned to the Special Investigations Division of the _
Pueblo Police Department as a Narcotics Detective, and has been so assigned for approximately
six years. Your Affiant has learned through experience and training from the United States
Department of Justice - Drug Enforcement Administration the detection, identification, methods
used for packaging illegal drugs for gale, the manufacture of illegal drugs, and testing of illegal
drugs, including cocaine. ‘

Your Affiant has interviewed hundreds of informants, victims, witnesses, and suspects in
hundreds of narcotics investigations; and examined hundreds of pieces of narcotic evidence.
Your Affiant has combined the skills and experience outlined in the preceding statement and
used this experience to evaluate evidence and statements, and ultimately, in solving crimes.
Your Affiant has prepared and executed numerous Search Warrants and has testified on.
numerous occasions as a Narcotics Detective in other narcotics related cases in Federal, District,
County, and Municipal Courts.

‘Through training and experience your Affiant has learned that cocaine is a high volume
drug and is easily disposed of. Drug dealers/users will often package cocaine in small plastic or
paper packages and conceal the illegal drug on their person. Concealing the drug on ones person
allows the drug dealer/user-to readily sell the drug and in the event of detection, will allow the:
dealer/user to dispose of the drug in a sink or toilet or by swallowing it. Drug dealers/users will
often conceal their drugs in vehicles to further facilitate sale and distribution of those drugs by
making deliveries in vehicles. Drug dealer/user vehicles are also a safe location for the drug
dealer/user to hide their drugs from other dealers/users and Police.

Within one month prior to the presentation of this Application and Affidavit for Search
Warrant, the Pueblo Police Narcotics Unit received information from a confidential informant

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who stated that Cynthia Aguilar is selling drugs, and she was living at 424 Acero Avenue.

Within the same one month period mentioned above, Affiant was contacted by a second
confidential informant, Herein referred to as CI, who told Affiant that “Cindy” is selling drugs.
The CI indicated that the CI was unsure where “Cindy” was living, however she use to live at
424 Acero Avenue.

The CI told A ffiant that the CI knows what cocaine is, as the CI has purchased and used
cocaine in the past, and knows how it is packaged for sale.

Within the same one-month period mentioned above, Affiant met with the CI for the
“purpose of making a controlled purchase of cocaine from “Cindy”.

The CI was searched for drugs and money, with none being found. The CI was supplied
with official Pueblo Police Department finds for the purpose of making the controlled purchase
of cocaine from “Cindy”.

The Pueblo Police Narcotics Unit established surveillance at a predetermined location,
where the CI was to meet with “Cindy” and make the controlled purchase of cocaine.

The CI contacted “Cindy” via telephone and requested a quantity of cocaine to be
delivered to the predetermined location where surveillance was established. A short time later a
female party arrived at the predetermined location driving a champagne colored Nissan Altima
bearing Colorado license plate number 123LPW. A short time later the female party drove away
from the CI.

The Pueblo Police Narcotics Unit maintained surveillance on the Nissan Altima until it
parked i in a garage at 1200 20" Lane.

Affiant met the Cl at a pre-determined location where the CI handed Affiant a quantity of
- cocaine the CI purchased from “Cindy”. The CI was once again searched for drugs and money
with none being found.

Affiant performed a chemical field test on a portion of the suspected cocaine that was
' purchased from “Cindy”. The results of that chemical field test were positive for the presence of
cocaine, a schedule I controlled substance,

At all times during the controlled purchase A ffiant and members of the Pueblo Police
Narcotics Unit had visual contact with the CI.

Affiant checked the Pueblo, Colorado Polk City Directory and found the 1200 20" Lane
. did not list to any “Cindy”.

Affiant checked Pueblo Police Department computer files to find that there was only one -
Cynthia Aguilar in the system, which listed to Cynthia Jean Aguilar (date of birth 02-22-64).

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Affiant obtained a photograph of Cynthia Jean Aguilar (date of birth 02-22-64) from the
Colorado Department of Motor Vehicles. Affiant showed the photograph to the CI. At that tume
the Cl positively identified the party in the photo graph as being “Cindy’, and is the same party
who is selling cocaine. .

Within the same one-month period mentioned above, Affiant and members of the Pueblo
Police Narcotics Unit have conducted surveillance of 1200 20" Lane. During this period of
surveillance Affiant and members of the Pueblo Police Narcotics Unit has observed-Cynthia
Aguilar repeatedly coming and going from 1200 20™ Lane throughout the day, and always
driving the champagne colored Nissan Altima bearing Colorado license plate number 123LPW.
Members of the Pueblo Police Narcotics Unit have also observed Cynthia Aguilar sitting in the
yard of 1200 20" Lane during the evening hours.

Within seventy-two (72) hours prior to the presentation of this Application and Affidavit
for Search Warrant, Affiant met with the CI for the purpose of making another controlled
purchase of cocaine from Cynthia Aguilar.

The Cl, and the vehicle the CI would be riding in, was searched for drugs and money,
with none being found. The CI was.supplied with official Pueblo Police Department funds for
the purpose of making the controlled purchase of cocaine from Cynthia Aguilar.

The Pueblo Police Narcotics Unit established surveillance at 1200 20" Lane, as well as a
_ predetermined location, where the CI was to meet with Cynthia Aguilar and make the controlled
purchase of cocaine. |

The Cl contacted Cynthia Aguilar via telephone and requested a quantity of cocaine to be
delivered to the predetermined location where surveillance was established. A short time later
members of the Pueblo Police Narcotics unit observed Cynthia Aguilar leave 1200 20" Lane
driving the same champagne colored Nissan Altima bearing Colorado license plate number
123LPW.

The Pueblo Police Narcotics Unit completely maintained surveillance on Cynthia Aguilar
and the Nissan Altima until it arrived at the predetermined location, where Cynthia Aguilar met
the CI. Cynthia Aguilar and the Nissan Altima went directly from 1200 20" Lane to the
. predetermined location without stopping at any other location. Cynthia Aguilar met with the CI
for a few moments, then drove away in the Nissan Altima. .

A member of the Pueblo Police Narcotics Unit met the Cl at a predetermined location
where the CI handed the Narcotics Detective the quantity of cocaine the CI purchased from .
Cynthia Aguilar. The CI was once again searched for drugs and money with none being found. —

Affiant performed a chemical field test on a portion of the suspected cocaine that was

purchased from Cynthia Aguilar. The results of that chemical field test were positive for the
presence of cocaine, a schedule II controlled substance.

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At all times during the controlled purchase, members of the Pueblo Police Narcotics Unit
had visual contact with the CI.

Based on the above information, Affiant requests that a search warrant be issued for 1200
20" Lane, which is a two family duplex positioned at the intersection of 20" Lane and Hillside
Road with:the northern most half of the duplex bearing the address of 1200, all outbuildings and
surrounding curtilage, Cynthia Jean Aguilar (date of birth 02-22- 64), and all persons ss present
during the execution of this search warrant.

Affiant also requests permission to search any and all vehicles, which can be linked to the
aforementioned persons, who are contacted at the residence of 1200 20" Lane during the
execution of this search warrant.

SUBSCRIBED AND SWORN to before me this 26% day of May, A.D. 2006.

Mesil W. Aenierterg

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IN THE COUNTY/DISTRICT COURT IN AND FOR
THE COUNTY OF PUEBLO AND STATE OF COLORADO

Criminal Proceeding Number
Division

SEARCH WARRANT

THE PEOPLE OF THE STATE OF COLORADO

TO: ANY PEACE OFFICER AUTHORIZED BY LAW TO EXECUTE SEARCH
WARRANTS IN THE ABOVE NAMED COUNTY, GREETINGS:

WHERBAS, Michael J. Simonich has made an affidavit and complaint for the issuance of _
a search warrant, and

WHEREAS, the affidavit of the applicant seems proper and it appears that reasonable
grounds or probable cause exists for the issuance of a search warrant for the reason(s) marked
with an “X” below:

The property to be searched for, and seized if found:

( ) Is stolen or embezzled;
AND/OR
(X) Is designed or intended for use as a means of committing a criminal offense;
or is or has been so used; . .
AND/OR
(X) Is illegal to possess; ~
/ AND/OR _
(X) Would be material evidence in a subsequent criminal prosecution.

WE THEREFORE COMMAND YOU, with the necessary and proper assistance to
search at any time the following premises, person(s), motor vehicle, or thing(s), within the next
ten (10) days, to-wit: .

1200 20" Lane, which is a two family duplex positioned at the intersection of 20" Lane
and Hillside Road with the northern most half of the duplex bearing the address of 1200, all .
outbuildings arid surrounding curtilage, Cynthia Jean Aguilar (date of birth 02-22-64), and all
persons present during the execution of this search warrant, now located within Pueblo County,
Colorado.

Any and all vehicles, which can be linked to the aforementioned persons, who are
contacted at the residence of 1200 20 Lane during the execution of this search warrant.

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and you will search for the following property or things, to-wit:

A Controlled Substance (COCAINE) as defined in Colorado Revised Statutes 18-18-204
and 18-18-405, as amended, together with such vessels, implements, and furniture in which such
drugs are found, and the vessels, implements, and furniture used in connection with the
manufacture, production, or dispensing of such drugs, and articles of personal property tending to
establish the identity of persons in control of contraband, related paraphernalia, consisting in part
and including, but not limited to, utility company receipts, rent receipts, financial records,
canceled mail envelopes, photographs, and monies related to the foregoing illegal activities,

and if the same or any part thereof is found, that you seize the goods property and things found
and safely keep them until further order of this Court, or until they are admitted into any criminal
proceedings conducted by a court of this state; and that you further file a report which inventories

the goods and things which were found and seized or reporting that nothing was so found and
seized with this Court.

This 26" day of May, A.D. 2006.

BY THE COURT:

Ward Ad Levckeaktg—

JUDGE

